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             EXHIBIT 67
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                EXHIBIT 20
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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                            DISTRICT OF MASSACHUSETTS

                                               )
 MODERNATX, INC. and MODERNA US,               )
 INC.,                                         )
                                               )
               Plaintiffs,                     )
                                               )
               v.                              )
                                                    C.A. No. 1:22-11378-RGS
                                               )
 PFIZER INC., BIONTECH SE,                     )
 BIONTECH MANUFACTURING GMBH,                  )
 and BIONTECH US INC.,                         )
                                               )
               Defendants.                     )
                                               )

       MODERNAS FIRST SET OF COMMON REQUESTS FOR PRODUCTION
                      OF DOCUMENTS AND THINGS

       Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiffs

ModernaTX, Inc. and Moderna US, Inc. (collectively, Moderna) hereby request that

Defendants Pfizer Inc. (Pfizer), BioNTech SE, BioNTech Manufacturing GmbH, and

BioNTech US Inc. (BioNTech US, together with BioNTech SE and BioNTech Manufacturing

GmbH, BioNTech) each respond to the following requests for production within thirty (30)

days of service, in accordance with the Definitions and Instructions below. Documents should

be produced at the law offices of WilmerHale LLP: Attn: Kevin S. Prussia, 60 State St., Boston,

MA, 02109.

                                        DEFINITIONS

       1.     Notwithstanding any definition set forth below, each word, term, or phrase used

in these requests is intended to have the broadest meaning permitted under the Federal Rules of

Civil Procedure.
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       Documents related to compensation, monetary or otherwise, exchanged between or

among Pfizer Inc., BioNTech SE, BioNTech Manufacturing GmbH, and BioNTech US Inc.



       Documents exchanged between or among any Defendants, or between any Defendant and

any third party, concerning nucleoside-modified mRNA, compositions containing nucleoside-

modified mRNA, carriers for nucleoside-modified mRNA, Comirnaty ®, or any other COVID-19

vaccine product.



       Communications between or among Defendants concerning this action.



       Communications between or among Defendants concerning any Moderna patent or patent

application.



       Documents related to interactions between or among any of the Defendants and Acuitas

Therapeutics Inc., including without limitation any partnerships, agreements, licenses, or

assignments relating to the development of any coronavirus vaccine product.



       Documents comprising or concerning any executed sales contracts or other sales

agreements, including all amendments thereto, that relate to Comirnaty® or any other COVID-19

vaccine product, including with governmental or regulatory bodies, including without limitation

all contracts or agreements, including documents relating to their negotiation, that Defendants

have negotiated with any health care provider, pharmacy chain, or governmental, regulatory, or

similar entity relating to the sale or reimbursement of Comirnaty® in any country.


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